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t “The camp produced fifty good, dedicated JDL people who
\ would prowl the streets of New York at night in search of Arab
l or Russian victims. That summer there were twelve to fifteen
§ bombings We had an underground bomb lab in a house in Bor-
| ough Park cranuned with explosives, Tornmy guns, Uzis. . . . We
i knew a grand jury was investigating us and that federal indict-
\, merits were coming down. Then one of our people was arrested
§ in israel for shooting a West Bank Arab and was convicted and
went to prison. We were very bummed out by that.”

As a federal grand jury weighed indictments against a num-
ber of )DL militants, about forty suspects, including Liebuwitz.
suddenly moved to lsrael in the winter of 1985. Aceording to
a federal law enforcement agent involved in the JDL probe, that
effectively stymied the investigation Weary of police investi-
gations, l.iebowitz tried to keep away from l<ahane and his fol-
lowers in lsrael. He moved to a military base in the Negev to
work as a volunteer. "It is wonderful to be in my country," he
wrote his mother. “There is some poetic justice in this scene
of lighting the Chanukah candies in a military base in the Negev.
lt is a dramatic scene. The sun shines softly and religious sold-
iers light a large menorah and say prayers. l am homc. l have
never felt better in my whole life in any other place."

A few weeks after Liebowitz wrote to his mother, a bomb
planted by the I’LO in the back of a bus in Jerusalem exploded
killing several passengers including two young Jewish girls. “i
feel as if l had lost my own slster," he wrote in another letter
home. "i can't stand thls. . . .lam very upset. , . .jews are dying
here only because they want to live here, . . . I must see Rabbi
Kahane." ‘

But Liebowitz got mixed signals from Kahane. On one hand,
he says, Kahane told him not to do anything illegal and risk going
to iail. i-l<)wever, he said Kahane also constantly preached that
vengeance is holy. “'l'he bombing of the erishl bus was like
a slgn," Liebowitz told me. “l knew what road l had to take.
l swore l was going to avenge chish blood." He says he met
four other l<ach Party members from the United States who. like
him, itched to strike back at the Arabs. (`.raig Leitner, whose
father is a top official with the New York City Board of Educa-
tion, was responsible for co-pl:mning the attack Liebowitz went
to Kahane for money to finance the operation without telling

 

 

 

 

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him what they were planning “l said, ‘We need money fast" "
Liebowitz recalled “Kahane took $600 from his pocket and gave
lt to me without asking any questions."

Prior to the attack, Leicner wrote to Randy Med<)ff, the jDL
boss in New York, instructing him that when he received a col.
leer phone call from a “Mr. Gray, " it would be a signal to phone
the israeli media with the news that aJewish terrorist organiza-
tion had machine-gunned an Arab bus. The Kach kids were
arrested minutes after Leitner placed the call to Medoff. Liebowitz
claims that he learned during police interrogation that Shin Bet
had them under surveillance for twenty-four hours prior to the
shooting

Craig i.eitner, who turned state`s witness, not only
documented the close links between terrorism, the Kach Party,
and Rahbi Kahane, but also told Shin Bet a chilling tale of Ku
Klux Klan-style violence. in a signed confession, he told israeli
officials:

One day, toward the end ofjuly 1984. (we) agreed to take
some action against the Arabs. About midnight we saw an
Arab in his early twenties wanting along the Hel)ron road. . . .
l left the car and gave the Arab a blow with my fist and
kicked him. . . , He escaped into the night . . . We drove
to Hebron and decided to set fire co Arab cars. We had two
plastic bottles filled with gasoline (Wc) took the fuel and
poured it under a number of cars. We set them on iire, but
we didn’t wait to sec what happened There were many
dogs around and l was afraid they might wake up the neigh-
bors, or they might bite us and we would get rabies.

Sevcral days later in Jcrusalem, according to his confession,
“We took some empty bottles and rags, then we went to the
Kaeh office because I knew that Rabbl l<ahane had left his car
there and a fuel tank was in the back of the car. We made Molotov
cocktails and drove to an Arab neighborhood We threw two
Molotovs at one of the Arab houses chosen at random."

Leitner then contacted an Arnerican friend from Kach who
lived in the West Bank settlement Beit El. “I knew he spoke
Hebrew lLeitner could notl and could be relied upon not to
inform the police. I asked him co phone the news media and
inform them that the attack in East jerusalem was carried out
by TNT lthe name for the Kach terrorist underground in Israeil."

 

 

 

   
 
 

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Kahane hired an attorney for his young machine gunners and
occasionally visited them in prison. He appointed one of the
youths imprisoned with Liebowitz, Yehuda Richter, from Beverly
Hills, to be his chief deputy in Kach. l.eitner. who somehow
managed to flee from Israei, was later arrested by U.S. marshals
at the Whlte Plains, New York campus of Pace University Law
School, where he was studying. He returned to israel after
lengthy legal maneuvering, served a year in prison, and is once
again a law student at Touro Coliege in Manhattan.

Liebowitz now says the machine~gun bus attack was a cathar-
tic experience and that he is grateful that confinement in prison
gave him the personal discipline he lacked. After spending more
than two years in prison\ he returned to the United States in 1986
to promote aliya (immigration to israeli as an emissary of the
Erctz Yisrael Movemcnt, which is affiliated with Gush Emunim.
tie is currently working for a Manhattan-bascd security firm. lie
told me he helped install a security system for thc Albanian Mis-
sion to the Unitcd Nations.

Matt says as soon as he saves enough money he will move to
israel permanently His wife, ]udy, a twenty»threeyear-old nurse,
would like to live in a quiet Jerusalcm neighborhood and raise
a family. Matt wants to move to the fiercely nationalist Pales-
tinian West Bank city of Hebron, where ultranationalist Jews have
carved a foothold in the heart of the city‘s squalid, fly-blown
Casbah.

A young man who still values violence, I.iebowitz says K.ah'.me’s
radical philosophy continues to guide him. “l think the Arabs
should be moved out of Israel," he said, echoing Kahanc. "My
parents can't believe that the bus attack had anything to cio with
ideology. 'l`hey still think it happened because they got a
divorce," he said, laughing softly.

 

 

